      Case:3:14-cv-02346-JCS
      Case  20-17363, 06/27/2022, ID: 12480874,
                               Document         DktEntry:
                                          589 Filed       122, Page 1 of 2
                                                    06/27/22

                                                                             FILED
                  UNITED STATES COURT OF APPEALS                             JUN 27 2022

                                                                        MOLLY C. DWYER, CLERK
                         FOR THE NINTH CIRCUIT                           U.S. COURT OF APPEALS




DAVID WIT; et al.,                            No.   20-17363
                                                    21-15193
           Plaintiffs-Appellees,
                                              D.C. No. 3:14-cv-02346-JCS
LINDA TILLITT; MARY JONES,                    Northern District of California,
                                              San Francisco
           Intervenor-Plaintiffs-
           Appellees,
                                              ORDER
v.

UNITED BEHAVIORAL HEALTH,

           Defendant-Appellant.



GARY ALEXANDER, on his own behalf             No.   22-17364
and on behalf of his beneficiary son,               21-15194
Jordan Alexander; et al.,
                                              D.C. No. 3:14-cv-05337-JCS
           Plaintiffs-Appellees,              Northern District of California,
                                              San Francisco
MICHAEL DRISCOLL,

           Intervenor-Plaintiff-
           Appellee,

v.

UNITED BEHAVIORAL HEALTH,

           Defendant-Appellant.
          Case:3:14-cv-02346-JCS
          Case  20-17363, 06/27/2022, ID: 12480874,
                                   Document         DktEntry:
                                              589 Filed       122, Page 2 of 2
                                                        06/27/22




Before: CHRISTEN and FORREST, Circuit Judges, and ANELLO,* District
Judge.

      Appellees’ Motion For Leave to File Reply Brief in Support of Petition For

Panel Rehearing and Rehearing En Banc, Dkt. No. 120, is GRANTED.




      *
            The Honorable Michael M. Anello, United States District Judge for
the Southern District of California, sitting by designation.
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